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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

UNITED STATES OF AMERICA,                           §
                                                    §
                Plaintiff,                          §
                                                    §
v.                                                  §                   1:21-CV-796-RP
                                                    §
THE STATE OF TEXAS,                                 §
                                                    §
                Defendant.                          §

                                               ORDER

        Before the Court are the State of Texas’s (“Texas”) Motion to Conduct Expedited

Discovery, (Dkt. 20), and Partially Opposed Motion to Expedite Consideration of Motion to

Conduct Expedited Discovery, (Dkt. 21), both filed last night on September 20, 2021. Texas

requests that the Court hear its Motion to Conduct Expedited Discovery by 5:00 p.m. today. (Dkt.

21, at 1). The United States has represented that it does not oppose expedited consideration of

Texas’s Motion for Expedited Discovery, but requests an additional half-day to file its response. Id.

Given the important issues in this case, the Court will set a schedule that allows the parties the

opportunity to present their positions on Texas’s discovery motion to the Court in an expedited

fashion.

        Accordingly, IT IS ORDERED that Texas’s Partially Opposed Motion to Expedite

Consideration of Motion to Conduct Expedited Discovery, (Dkt. 21), is GRANTED IN PART.

        IT IS FURTHER ORDERED that the United States shall file a response to Texas’s

Motion to Conduct Expedited Discovery, (Dkt. 20), no later than 12:00 p.m. on September 22,

2021.




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       IT IS FINALLY ORDERED that the Court sets a videoconference on Texas’s Motion to

Conduct Expedited Discovery, (Dkt. 20), for September 22, 2021 at 3:00 p.m. Details on accessing

the conference will follow separately.

      SIGNED on September 21, 2021.


                                          _____________________________________
                                          ROBERT PITMAN
                                          UNITED STATES DISTRICT JUDGE




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